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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

 

LlsA M. vANCE Civn Acuon No. 3:16-cv-01162-MAD-DEP
Plaimiff,
srn>ULATIoN AND oRi)ER
against coMPELLING ENTIRE ACTloN To

ARBITRATION
STERLING JEWELERS, INC. d/b/a KAY
JEWELERS,

Defendant.

 

lt Is Hereby Stipulated And Agreed by and between Plaintiff LISA M. VANCE
(“Plaintift”) and her attorney of record Hartnett Law Office, P.C., and Defendant STERLING
JEWELERS, INC. D/B/A KAY JEWELERS (“Defendant”), and their attorneys of record Littler
Mendelson, P.C., that the following Stipulation may be entered as an Order by the Court to give
effect to the stipulations set forth below:

l. On or about September 23, 2016, Plaintiff filed her Complaint for Damages
against Defendants in the United States District Court, Northern District of New York;

2. Defendant, through counsel, agreed to accept service of said Complaint;

3. At the time of her employment, Plaintiff agreed as a condition of her employment
to abide by the Company’s RESOLVE program, which is an alternative dispute program that
culminates in arbitration A copy of the signed agreement is attached hereto as Exhibit “A”;

4. The parties agree that the claims asserted in the Comp]aint for Damages are
subject to the mandatory arbitration provisions and thus this matter should be dismissed without
prejudice; and

5. Defendant has not filed any responsive pleading in this matter.

 

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The parties, through their respective counsel of record AGREE AND HEREBY
STlPULATE for an Order compelling the above-referenced action, in its entirety, to arbitration
Accordingly, this Action Will be dismissed without prejudice.

Date: December \ 2016
Fairport, New York

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Perer M. Harmen, Esq., #101931 g::qileline Phipps Poiito, Esq_, #511655
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HARTNETT LAW OFFICE, P.C. TLER MENDELSON, P.C.
499 S. Warren Street, Ste. 705 Woodcliff Drive, Second Floor

 

Syracuse, NY 13202 Fairport, NY 14450
peter@hartnettlawoflice.coin jpolito/£_'illittler.com
Tel. 315.218.6131 Tel. 585.203.3400
Attorney for Plainliff Attorneyjor Defendam
LISA M. VANCE STERLING JEWELERS, rNC. D/B/A KAY
JEWELERS

 

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ORDER

Good Cause Appearing Therefore, IT IS HEREBY ORDERED that Plaintiff’s entire
action be compelled to arbitration Pending the resolution of this matter in arbitration, this action
shall be stayed in its entirety

IT IS SO ORDERED.

Dated: By:

 

Honorable Dz tvid E. Peebles
Magistrate Ju dge

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